             Case 4:21-cv-00264-RP-HCA Document 3-1 Filed 09/03/21 Page 1 of 18




 1                                     Declaration of Dr. Joel Waddell
 2            I, Dr. Joel Waddell, declare as follows under penalty of perjury pursuant to 28 U.S.C. §
 3   1746:
 4                                               Background
 5      1. I am currently a practicing pediatric infectious diseases physician at the Blank Children’s
 6            Hospital in Des Moines, Iowa. At the Blank Children’s Hospital, I currently serve as the
 7            Pediatric Residency Associate Program Director and as the Pediatric Residency
 8            Curriculum Committee Chair.       All statements within this declaration represent my
 9            thoughts, and these statements do not necessarily represent the positions of Blank
10            Children’s Hospital, Iowa Methodist Medical Center, or UnityPoint Health.
11      2. I received my Bachelor of Science from East Tennessee State University in 2009 and my
12            D.O. from Des Moines University in 2013. I completed my residency in General Pediatrics
13            at Kansas University in 2016 and fellowship in Pediatric Infectious Diseases at the
14            University of Missouri–Kansas City in 2019. I received three years of additional training
15            in Pediatric Clinical Pharmacology at the University of Missouri–Kansas City. I am
16            currently a member of the Society for Pediatric Research, the Pediatric Infectious Diseases
17            Society, the Infectious Diseases Society of America, the Society for Healthcare
18            Epidemiology of America, and the American Academy of Pediatrics.
19      3. Since completing my residency and fellowship training, I have practiced at the Blank
20            Children’s Hospital in Des Moines providing both inpatient and outpatient consultations in
21            pediatric infectious diseases. In addition to serving as the Pediatric Residency Associate
22            Program Director and as the Pediatric Residency Curriculum Committee Chair, I am also
23            a member of the Pediatric Residency Scholarship Oversight Committee and the Pediatric
24            Death Review Committee. Before beginning at the Blank Children’s Hospital, I also served
25            on various committees during my time as a resident and as a fellow. I served for two years
26            (2017-2019) as a member of the Pediatric Infectious Diseases Society Research Affairs
27            Committee, for two years (2017-2019) as a member of the Musculoskeletal Infection
28            Hospital Care Committee at Children’s Mercy Hospital, for two years (2014-2016) as a
29            member of the Pediatric Hospital Ethics Committee at the Kansas University Medical
30            Center, for three years (2013-2016) as a member of the Pediatric Medical Education
31            Committee at the Kansas University Pediatric Residency program, and for two years (2009-

                                                       1
       Case 4:21-cv-00264-RP-HCA Document 3-1 Filed 09/03/21 Page 2 of 18




32      2011) as the Research Committee Chair of the Student Osteopathic Medical Association at
33      Des Moines University.
34   4. My academic and medical policy work includes forty scientific presentations and invited
35      lectures, two co-authored hospital policies and handbooks, and two co-authored
36      publications on subjects relevant to pediatric infectious diseases. I have also appeared in
37      nine television, newspaper, and radio interviews where I provided insight into the impact
38      of COVID-19 on children. I spoke at the state of Iowa’s annual school nursing conference
39      discussing COVID-19 clinical presentations, treatment options, and various modalities to
40      prevent COVID-19 infections in schools. I have provided five didactic lectures regarding
41      COVID-19 in children at three different medical centers in Iowa. Additionally, I will be
42      the keynote speaker at the 2021 Iowa Physiology Society annual meeting in December
43      2021.
44   5. I received the Most Outstanding Faculty Teaching Award at the Blank Children’s Hospital
45      Pediatrics Residency Program in 2021, the Teaching & Academic Excellence Award at the
46      Blank Children’s Hospital Pediatric Education Department in 2019, the Most Outstanding
47      Fellow Teaching Award at Children’s Mercy Hospital, the Most Outstanding Pediatric
48      Resident Award at the Kansas University Pediatric Residency program in 2016, and the
49      Resident Researcher of the Year Award at the Kansas University Pediatric Residency
50      program in 2015.
51   6. My CV is attached as Exhibit A.
52   7. I am familiar with the state law prohibiting mask mandates in schools. In my expert
53      opinion, this law will hurt the children of this state and their families by denying schools
54      the ability to fashion policies for their districts that attend to the health needs of their
55      students. If students face the prospect of going to school in areas of substantial or high risk
56      of COVID-19 transmission, with no requirements of masks, they are forced either to attend
57      school at risk to their health and that of their families or to stay out of school, also a risk to
58      their physical psychological, emotional, and developmental well-being. I am particularly
59      concerned for those students with disabilities that increase the risk of severe illness should
60      they contract COVID-19. Given the dominance of the Delta variant in Iowa and across the
61      United States, it is even more likely that entire classrooms, including those with students



                                                    2
               Case 4:21-cv-00264-RP-HCA Document 3-1 Filed 09/03/21 Page 3 of 18




62              with disabilities, could be infected with COVID-19 in the absence of vaccines or mask
63              mandates.
64       8. I am not being compensated for my time reviewing materials and preparing this report.
65
66        I.        Increased COVID-19 Transmission and Prevalence of the Delta Variant in Iowa
67       9. The beginning of this school year coincides with a dramatic increase in COVID-19
68              transmission. As of August 31, all but three of Iowa’s ninety-nine counties were
69              experiencing “high” levels of community COVID-19 transmission, with “high” being the
70              most severe CDC transmission designation.1 Between June 27 and August 31, the average
71              daily cases per 100,000 residents in Iowa has risen sixteen-fold from two per 100,000 to
72              thirty-three per 100,000.2 Furthermore, the test positivity rate, an indicator of increasing
73              COVID-19 community spread,3 has risen seven-fold from about 2% to over 14% during
74              this same time period.4 Iowa is also experiencing a faster rate of increase in new COVID-
75              19 cases than the United States as a whole; for the fourteen-day period ending on August
76              31, Iowa recorded a 46% increase in daily average COVID-19 cases per 100,000 residents,
77              compared to a 18% increase in this same rate for the United States as a whole.5
78       10. Iowa’s hospitals show the strain of the COVID-19 pandemic. As of August 31, the State
79              of Iowa reported 498 COVID-19 hospitalizations, a number not seen since the 2020-2021
80              winter COVID-19 surge.6 August also saw an all-time low availability of ICU beds
81              available in Iowa. On September 2, the state of Iowa Regional Medical Coordination
82              Center Dashboard reported only 297 available ICU beds in the state of Iowa, fewer
83              available beds than at any point during the 2020-2021 winter COVID-19 surge.7


     1
       COVID-19 Integrated County View, Ctrs. for Disease Control & Prevention (Aug. 31, 2021 update),
     https://covid.cdc.gov/covid-data-tracker/#county-view (last visited Sept. 2, 2021).
     2
       Mayo Found. for Medical Educ. & Res., Iowa coronavirus map: What do the trends mean for you?, Mayo Clinic,
     https://www.mayoclinic.org/coronavirus-covid-19/map/iowa (last visited Sept. 2, 2021).
     3
       See, e.g., Positivity Rate Explained, Barry-Eaton Dist. Health Dep’t. (Oct. 2020),
     https://www.barryeatonhealth.org/sites/default/files/Positivity%20Rate%20Explained.pdf (last visited Sept. 2,
     2021).
     4
       Mayo Found. for Medical Educ. & Res., supra note 2.
     5
       Coronavirus in the U.S.: Latest Map and Case Count, N.Y. Times (Sept. 2, 2021 update),
     https://www.nytimes.com/interactive/2021/us/covid-cases.html (last visited Sept. 2, 2021).
     6
       Hospitalization Analysis, Iowa Dep't of Pub. Health, https://coronavirus.iowa.gov/pages/hospitalization-analysis
     (last visited Sept. 2, 2021).
     7
       Hospital Data Summary, Regional Medical Coordination Center Dashboard, Iowa Dep't of Pub. Health,
     https://coronavirus.iowa.gov/pages/rmcc-data (last visited Sept. 2, 2021).

                                                              3
             Case 4:21-cv-00264-RP-HCA Document 3-1 Filed 09/03/21 Page 4 of 18




 84       11. The COVID-19 Delta variant is estimated to account for 99.7% of COVID-19 infections
 85           in HHS Region 7, which includes Iowa, as of August 31.8 This is relevant to the overall
 86           COVID-19 transmission landscape given that the Center for Disease Control and
 87           Prevention (CDC) estimates that the Delta variant is at least twice as transmissible as
 88           previous variants and that it could likely lead to more severe illness in adults.9
 89
 90                             II.     The Impact of the Delta Variant for Children
 91       12. Pediatric COVID-19 cases comprise an increasing share of overall COVID-19 cases in the
 92           United States. While Iowa stopped updating its pediatric COVID-19 testing data on July
 93           15,10 the most recent available data from Iowa suggest a similar trend statewide as well.
 94           On August 16, 2021, the number of children hospitalized due to COVID-19 in the United
 95           States reached an all-time high exceeding 1,900.11 Pediatric hospitalizations now account
 96           for 2.3% of all COVID-19-related hospitalizations, compared to less than 1% in May of
 97           2020.12 Similarly, pediatric COVID-19 cases represented fewer than 5% of all cases in
 98           May of 2020, but now account for over 14% of total cases.13
 99       13. In Iowa, the most recent data indicate similar trends. According to the last full week of
100           pediatric data reporting in Iowa, ending on July 8, there were nearly 50,000 cumulative
101           childhood COVID-19 cases reported in the state.14 Even with the gap in data reporting,
102           Iowa still exceeds the national average in terms of cumulative COVID-19 cases per
103           100,000 children.15 Since Iowa last reported pediatric COVID-19 data, the weekly number
104           of new pediatric COVID-19 cases has increased ten-fold from fewer than 20,000 to over




      8
        COVID Data Tracker: Variant Proportions, Ctrs. for Disease Control & Prevention (Aug. 28, 2021 update),
      https://covid.cdc.gov/covid-data-tracker/#variant-proportions (last visited Sept. 2, 2021).
      9
        Delta Variant: What We Know About the Science, Ctrs. for Disease Control & Prevention (May 7, 2021 update),
      https://www.cdc.gov/coronavirus/2019-ncov/variants/delta-variant.html (last visited Sept. 2, 2021).
      10
         Children and COVID-19: State Data Report: Version: 8/26/21, Am. Acad. Pediatrics (Aug. 26, 2021 update),
      https://www.aap.org/en/pages/2019-novel-coronavirus-covid-19-infections/children-and-covid-19-state-level-data-
      report/ (last visited Sept. 2, 2021).
      11
         Carolyn Crist, U.S. Reports Record COVID Hospitalizations of Children, WebMD (Aug. 16, 2021),
      https://www.webmd.com/lung/news/20210816/u-s-reports-record-covid-hospitalizations-of-children (last visited
      Sept. 2, 2021).
      12
         Children and COVID-19: State Data Report, supra note 11, at 16, 20.
      13
         Id. at 12, 15.
      14
         Id. at 25.
      15
         Id.

                                                             4
             Case 4:21-cv-00264-RP-HCA Document 3-1 Filed 09/03/21 Page 5 of 18




105               203,962 as of August 26.16 It is clear from the available data that COVID-19 currently
106               presents as acute threat to children in Iowa.
107
108        III.       The Availability of Vaccines for Children and Overall Vaccination Rates in Iowa
109        14. Children in Iowa are vulnerable to the Delta variant given the unavailability of vaccines
110               from children under the age of twelve and the low vaccination rate for children twelve to
111               nineteen years old. None of the three available COVID-19 vaccines have been approved,
112               for emergency use or otherwise, for children under the age of twelve.17 As of September 2,
113               only about 30% of children aged twelve to fifteen were fully vaccinated, only about 39%
114               of children aged sixteen and seventeen were fully vaccinated, and only about 40% of
115               adolescents aged eighteen and nineteen were fully vaccinated in Iowa.18 Nationally, 64%
116               of adults above the age of eighteen were fully vaccinated as of September 2, underscoring
117               the particularly low vaccine coverage for Iowa minors.19
118        15. In addition, as with adults, some children with cancer, immunodeficiencies, and those
119               receiving immunosuppressive medications cannot mount an appropriate immune response
120               to COVID-19 vaccines. Therefore, they are less protected from COVID-19 vaccination.
121        16. According to the CDC, unvaccinated people are much more likely to contract, transmit,
122               and experience severe symptomatic illness from the Delta variant than their vaccinated
123               counterparts.20 In light of the data on pediatric vaccination rates and the unavailability of
124               vaccines to the youngest school-aged children, children account for a disproportionate
125               share of Americans to whom the Delta variant poses the greatest risk.
126




      16
         Id. at 9.
      17
         Covid-19 Vaccines for Children and Teens, Ctrs. for Disease Control & Prevention (Aug. 17, 2021 update),
      https://www.cdc.gov/coronavirus/2019-ncov/vaccines/recommendations/adolescents.html (last visited Sept. 2,
      2021).
      18
         Fully Vaccinated Demographics, Iowa Dep't of Pub. Health,
      https://coronavirus.iowa.gov/pages/vaccineinformation (last visited Sept. 2, 2021).
      19
         See How Vaccinations Are Going in Your County and State, N.Y. Times (Sept. 1, 2021 update),
      https://www.nytimes.com/interactive/2020/us/covid-19-vaccine-doses.html (last visited Sept. 2, 2021).
      19
         Hospitalization Analysis, Iowa Dep't of Pub. Health, https://coronavirus.iowa.gov/pages/hospitalization-analysis
      (last visited Sept. 2, 2021).
      20
         Delta Variant: What We Know About the Science, Ctrs. for Disease Control & Prevention (Aug. 27, 2021 update),
      https://www.cdc.gov/coronavirus/2019-ncov/variants/delta-variant.html (last visited Sept. 2, 2021).

                                                               5
             Case 4:21-cv-00264-RP-HCA Document 3-1 Filed 09/03/21 Page 6 of 18




127            IV.     Conditions That Can Put Children at Greater Risk of Severe Illness from
128                                                          COVID-19
129        17. As noted above, children are particularly vulnerable to COVID-19 as a result of vaccination
130           rates within this population. Of greatest concern are those children who are not or cannot
131           be vaccinated who have underlying medical conditions that increase their risk for severe
132           illness as a result of COVID-19 infection. According to the CDC, “children with medical
133           complexity, with genetic, neurologic, metabolic conditions, or with congenital heart
134           disease,” as well as “children with obesity, diabetes, asthma or chronic lung disease, sickle
135           cell disease, or immunosuppression” may fall into this category.21
136        18. Most if not all of the children with these conditions are disabled within the meaning of the
137           Americans with Disabilities Act (the ADA).22 The ADA defines disability as “a physical
138           or mental impairment that substantially limits one or more major life activities of such
139           individual.”23 Major life activities for purposes of the Act “include but are not limited to,
140           caring for oneself, performing manual tasks, seeing, hearing, eating, sleeping, walking,
141           standing, lifting, bending, speaking, breathing, learning, reading, concentrating, thinking,
142           communicating, and working;” a major life activity “also includes the operation of a major
143           bodily function, including but not limited to, functions of the immune system, normal cell
144           growth, digestive, bowel, bladder, neurological, brain, respiratory, circulatory, endocrine,
145           and reproductive functions.”24 Conditions such as asthma, chronic lung disease, diabetes,
146           sickle cell disease, and congenital heart disease by definition substantially limit a major
147           bodily function.
148        19. These are not the only children at risk of grave harm. Individuals with intellectual
149           disabilities are also at increased risk of contracting COVID-19 and of dying from COVID-
150           19 infection. A recent study published in the New England Journal of Medicine—working
151           with a data set of 64,414,495 patients across more than 500 U.S. healthcare systems, of
152           which “127,003 were patients with intellectual disabilities and 64,287,492 were patients
153           without intellectual disabilities”—concluded that “intellectual disability was the strongest

      21
         People with Certain Medical Conditions, Ctrs. for Disease Control & Prevention (Aug. 20, 2021 update),
      https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-conditions.html (last
      visited Sept. 2, 2021).
      22
         42 U.S.C. § 12101 et seq.
      23
         42 U.S.C. § 12102(1).
      24
         42 U.S.C. §§ 12102(2)(A)-(B).

                                                             6
             Case 4:21-cv-00264-RP-HCA Document 3-1 Filed 09/03/21 Page 7 of 18




154           independent risk factor for presenting with a Covid-19 diagnosis and the strongest
155           independent risk factor other than age for Covid-19 mortality.”25 The study found
156           individuals with intellectual disabilities were more likely to contract COVID; if diagnosed
157           with COVID, more likely to be admitted to the hospital; and more likely to die following
158           admission.26 The risks reflect the risks associated with intellectual disability itself, as well
159           as comorbidities that in the study were overrepresented among those with intellectual
160           disabilities. Notably, the odds of mortality among those with intellectual disabilities in the
161           study were “significantly higher than other conditions such as congestive heart failure,
162           kidney disease, and lung disease.”27
163        20. During the 2020-2021 school year, the families of many of my patients have expressed
164           significant concerns about their children being exposed to COVID-19 in school. However,
165           they are even more concerned about the 2021-2022 school year due to the Delta variant
166           and lack of mask mandates. The parents of a young child (under the age of twelve) told
167           me they lie awake every night trying to balance the risks of sending their boy to school.
168           The child has a genetic immunodeficiency. Therefore, he is at higher risks of various
169           infections and their complications, including more severe outcomes from COVID-19.
170           These parents are anguished because they know how healthy and important in-person
171           school is for their boy, but they fully understand the likelihood of their child contracting
172           COVID-19 from their unvaccinated peers without masks. Another family of a young girl
173           with leukemia has expressed similar concerns. They no longer believe that our schools are
174           a safe place for their child. I have been caring for a teenage young lady who is on various
175           immunosuppressant medications due to a rheumatologic condition. While she has been
176           vaccinated against COVID-19, she is less likely to be protected from COVID-19 infection.
177           I have sat with the mother of this patient as she cries not seeing a safe avenue for in-person
178           school for her daughter. I have also had to sit with many distraught families of previously
179           healthy children who require hospitalization with post-infectious complications of
180           COVID-19 called Multisystem Inflammatory Syndrome in Children (MIS-C). With MIS-


      25
         Jonathan Gleason et. al., Commentary: The Devastating Impact of Covid-19 on Individuals with Intellectual
      Disabilities in the United States, New Eng. J. Med. (Mar. 5, 2021),
      https://catalyst.nejm.org/doi/full/10.1056/CAT.21.0051 (last visited Sept. 2, 2021).
      26
         Id.
      27
         Id.

                                                              7
                Case 4:21-cv-00264-RP-HCA Document 3-1 Filed 09/03/21 Page 8 of 18




181              C, children often require continuous infusions of medications that help their heart beat
182              strong enough to maintain life. Several of these parents have looked me in the eyes while
183              crying and asked, “could we have done something to prevent this from happening?” If the
184              appropriate risk mitigation steps are not taken in the schools of Iowa, we will almost surely
185              see more cases of MIS-C and other complications of COVID-19 in children this school
186              year compared to last year.
187        21. Finally, when we think about the risk to children in the state, we can’t ignore the risk of
188              children developing what has come to be known as long COVID, where symptoms remain
189              months after an initial COVID diagnosis. While study is essential to know the scope of
190              long COVID in children, with current estimates varying significantly, there are increasing
191              concerns about the long-term impact of COVID even among the asymptomatic.28
192
193        V.        CDC and State Department of Health Recommendations on Masking in Schools
194                  and the Efficacy of Masking for Reducing COVID-19 Transmission
195        22. The CDC recommends “universal indoor masking for all students, staff, teachers, and
196              visitors to K-12 schools, regardless of vaccination status.”29 Underlying the CDC guidance
197              are concerns about “the highly transmissible nature of this variant,” the ineligibility of
198              children under twelve for the vaccine, and low levels of vaccination among youth ages
199              twelve to seventeen, all factors present in our state at this time.30
200        23. Leading medical organizations, including the American Academy of Pediatrics and the
201              American Medical Association, similarly recommend universal masking as part of school
202              openings.31
203        24. In addition to national organizations, the local health departments in each of Iowa’s three
204              most populous counties (Polk, Linn, and Scott counties) all recommend universal mask-
205              wearing in indoor settings. The Scott County Health Department simply recommends
206              “[m]asking of all in indoor spaces,” and the Polk County Health Department and the Linn

      28
         See, e.g., Dyani Lewis, Long COVID and Kids: Scientists Race to Find Answers, 595 Nature 482 (2021).
      29
         Guidance for Covid-19 Prevention in K-12 Schools, Ctrs. for Disease Control & Prevention (Aug. 5, 2021
      update), https://www.cdc.gov/coronavirus/2019-ncov/community/schools-childcare/k-12-guidance.html (last visited
      Sept. 2, 2021).
      30
         Id.
      31
         See, e.g., American Academy of Pediatrics Updates Recommendations for Opening Schools in Fall 2021, Am.
      Acad. Pediatrics (July 19, 2021), https://www.aap.org/en/news-room/news-releases/aap/2021/american-academy-of-
      pediatrics-updates-recommendations-for-opening-schools-in-fall-2021/.

                                                             8
             Case 4:21-cv-00264-RP-HCA Document 3-1 Filed 09/03/21 Page 9 of 18




207           County Health Department both explicitly state that schools fall under their universal
208           mask-wearing recommendations.32 The Iowa Medical Society and the Iowa Chapter of the
209           American Academy of Pediatrics both recommend universal indoor masking by all
210           students (age two and older), staff, teachers, and visitors to K-12 schools, regardless of
211           vaccination status.33
212        25. Recent studies have confirmed that wearing masks is one of the most powerful tools to
213           thwart the transmission of COVID-19 in indoor settings, such as schools. Researchers at
214           Duke University conducted a study on COVID-19 transmission within schools following
215           “Plan A” which “provided full, in-person instruction, masking, and minimal physical
216           distancing.”34 Analysis conducted by Duke University researchers using data from North
217           Carolina K-12 schools —data that included more than 1,280,000 students and 160,000
218           staff—found that “there is very limited within-school transmission of COVID-19 in
219           schools participating in Plan A,” leading the researchers to conclude that “wearing masks
220           is an effective strategy to prevent in-school COVID-19 transmission.”35
221        26. This study confirms what the CDC and other studies have reported. The CDC has stated,
222           “Experimental and epidemiological data support community masking to reduce the spread”
223           of the Delta variant.36 A recent literature review concluded that “nonmedical masks have
224           been effective in reducing transmission of respiratory viruses; and places and time periods




      32
         Quad Cities COVID-19 Coalition: August 19 Press Release, Scott Cnty. (Aug. 19, 2021),
      https://www.scottcountyiowa.gov/sites/default/files/attachments/posts/20210819_COVID-
      19_Update_on_Public_Health_Response.pdf (Scott County); COVID-19 cases and hospitalizations are surging: It
      is time for our community to step up and do the right thing, Polk Cnty. (Aug. 24, 2021),
      https://www.polkcountyiowa.gov/health-department/news-and-press-releases/covid-19-cases-and-hospitalizations-
      are-surging-it-is-time-for-our-community-to-step-up-and-do-the-right-thing/ (Polk County); Grace King, Masks
      should be mandated to be worn in schools, Linn County board of health says, Gazette (Aug. 30, 2021),
      https://www.thegazette.com/k/masks-should-be-mandated-to-be-worn-in-schools-linn-county-board-of-health-says/
      (last visited Sept. 2, 2021).
      33
         Sydney Maras, IMS & IA AAP: Back to School Face Mask Usage Statement, Iowa Medical Society (Aug. 19,
      2021), https://www.iowamedical.org/news/10941537 (last visited Sept. 2, 2021).
      34
         The ABCs of North Carolina's Plan A, ABC Science Collaborative (July 1, 2021),
      https://abcsciencecollaborative.org/the-abcs-of-north-carolinas-plan-a/ (last visited Sept. 2, 2021).
      35
         Letter from Danny Benjamin & Kanecia Zimmerman to Joint Legislative Education Oversight Committee et al.
      (June 30, 2021), https://abcsciencecollaborative.org/wp-content/uploads/2021/06/ABCs-Final-Report-June-2021.06-
      esig-DB-KZ-6-29-21.pdf (last visited Sept. 2, 2021).
      36
         Science Brief: Community Use of Cloth Masks to Control the Spread of SARS-CoV-2, Ctrs. for Disease Control &
      Prevention (May 7, 2021 update), https://www.cdc.gov/coronavirus/2019-ncov/science/science-briefs/masking-
      science-sars-cov2.html#anchor_1619456988446 (last visited Sept. 2, 2021).

                                                             9
            Case 4:21-cv-00264-RP-HCA Document 3-1 Filed 09/03/21 Page 10 of 18




225              where mask usage is required or widespread have shown substantially lower community
226              transmission.”37
227        27. Masking is also critical for the health of those who, for reasons of disability, cannot mask.
228              Those include people who struggle to take a mask off and on, whether because of motor
229              skills or cognitive issues; people with sensory processing disorders; and people with facial
230              deformities incompatible with a mask, among others.38
231        28. As noted above, families that I worked with and all of the children not vaccinated are at
232              great risk for a COVID-19 infection. Given the rise in pediatric infections (and adult
233              infections) due to the Delta variant of COVID-19, in my expert opinion, the only safe
234              course at this time is universal masking for children for safe attendance at school and
235              school-related functions until our public health officials declare a safe level of population-
236              wide vaccination. As a pediatric infectious diseases physician, I am concerned about all
237              children but particularly worried about those children with complex medical conditions
238              and/or disabilities since the latter group could more likely sustain severe illness or even
239              death. The risk of death is low overall, but certainly elevated for the vulnerable group. Any
240              severe illness or death is unacceptable for a preventable disease.
241
242        VI.       The Necessity of Allowing Iowa Schools to Set Their Own Mask Policies
243        29. Iowa’s Mask Mandate Prohibition denies school districts the ability to require masks to
244              protect their students and staff. In communities where COVID-19 is prevalent, parents with
245              children with conditions that can make them vulnerable to severe illness in particular will
246              face a terrible dilemma of whether to risk their children’s health and even life, or to keep
247              the children out of school. That is not a decision they should be forced to make, when we
248              have the option of masks to protect the safety of those in the school.
249        30. My concern is greatest for these children, but it does not stop there. No child should risk
250              serious illness if we can prevent it.




      37
         Howard et. al., An evidence review of face masks against COVID-19, 118 PNAS 1, 1-12 (2021); Cheng, et al.,
      Face masks effectively limit the probability of SARS-CoV-2 transmission, 372 Science 1439, 1439-1443 (2021).
      38
         Doron Dorfman & Mical Raz, Mask Exemptions During the COVID-19 Pandemic—A New Frontier for
      Clinicians, JAMA Health Forum (July 10, 2020), https://jamanetwork.com/journals/jama-health-
      forum/fullarticle/2768376?resultClick=1.

                                                             10
Case 4:21-cv-00264-RP-HCA Document 3-1 Filed 09/03/21 Page 11 of 18
            Case 4:21-cv-00264-RP-HCA Document 3-1 Filed 09/03/21 Page 12 of 18

                                             Curriculum Vitae                       EXHIBIT A
                                            Joel Waddell, D. O.

Date of Preparation: 08/28/2021

Citizenship Status

Country of Citizenship               Type of Visa                Work Authorization End Date

USA

EDUCATION

• Baccalaureate Degree

Year                 Degree                       Institution                       City, State
2004-2009            Bachelor of Science          East Tennessee State University   Johnson City, TN

• Graduate Degrees (Masters/Doctorate)

Year                 Degree                       Institution                       City, State
2009-2013            D.O.                         Des Moines University             Des Moines, IA

• Residency/Fellowship Training
Year            Specialty                         Institution                       City, State
2013-2016            General Pediatrics           Kansas University                 Kansas City, KS

2016-2019            Pediatric Clinical Pharmacy University of Missouri-Kansas      Kansas City, MO
2016-2019            Pediatric Infectious Diseases City/Children’s Mercy Hospital


Practice/Employment History (starting with most recent)

Years                Practice Organization/Employer                                 City, State
2019-Present         Blank Children’s Hospital                                      Des Moines, IA

Certification and Licensure

• Certifications:

Board                          Initial Year       Most Recent Cert. Yr.             Certificate No.
American Board of Pediatrics         2016         2016                              118135

American Board of Pediatrics         2019         2019                              1747
              Case 4:21-cv-00264-RP-HCA Document 3-1 Filed 09/03/21 Page 13 of 18

• Medical Licensure (current)

State                Initial Date                License No.

Iowa                 2019                        DO-05386

Leadership Positions

Years                Position
2021 – Present       Pediatric Residency Associate Program Director
                     Blank Children’s Hospital, Des Moines, IA

2021 – Present       Pediatric Residency Curriculum Committee Chair
                     Blank Children’s Hospital, Des Moines, IA

2020 – Present       Pediatric Residency Scholarship Oversight Committee Member
                     Blank Children’s Hospital, Des Moines, IA

2020 – Present       Pediatric Death Review Committee Member
                     Blank Children’s Hospital, Des Moines, IA

2017 – 2019          Musculoskeletal Infection Hospital Care Committee Member
                     Children’s Mercy Hospital, Kansas City, MO

2017 – 2019          Pediatric Infectious Diseases Society Research Affairs Committee
                     Member

2016 – 2019          Fellow Representative of Graduate Medical Education Committee
                     Children’s Mercy Hospital, Kansas City, MO

2015 – 2016          Resident Representative of Clinical Learning Environment Review
                     Program
                     Kansas University Pediatric Residency, Kansas City, KS

2014 – 2016          Resident Representative of Pediatric Hospital Ethics Committee
                     Kansas University Medical Center, Kansas City, KS

2014 – 2016          Clinical Skills Preceptor for Medical Students
                     Kansas University School of Medicine, Kansas City, KS

2013 – 2016          Resident Representative of Pediatric Medical Education Committee
                     Kansas University Pediatric Residency, Kansas City, KS

2009 – 2011          Research Committee Chair of Student Osteopathic Medical Association
                     Des Moines University, Des Moines, IA
           Case 4:21-cv-00264-RP-HCA Document 3-1 Filed 09/03/21 Page 14 of 18

Professional Affiliations and Memberships (currently only)

Organization

2017 – Present    Society for Pediatric Research

2016 – Present    Pediatric Infectious Diseases Society

2016 – Present    Infectious Diseases Society of America

2016 – Present    The Society for Healthcare Epidemiology of America

2013 – Present    American Academy of Pediatrics

Honors and Awards (if any)
2021              Most Outstanding Faculty Teaching Award
                  Blank Children’s Hospital Pediatrics Residency, Des Moines, IA

2019              Teaching & Academic Excellence Award
                  Blank Children’s Hospital Pediatric Education Department, Des Moines, IA

2019              Most Outstanding Fellow Teaching Award Recipient
                  Children’s Mercy Hospital Graduate Medical Education, Kansas City, MO

2018              Most Outstanding Fellow Teaching Award Nominee
                  Children’s Mercy Hospital Graduate Medical Education, Kansas City, MO

2017              Most Outstanding Fellow Teaching Award Nominee
                  Children’s Mercy Hospital Graduate Medical Education, Kansas City, MO

2016              Excellence in Teaching Award: Most Outstanding Pediatric Resident
                  Kansas University School of Medicine, Kansas City, KS

2016              Most Outstanding Pediatric Resident
                  Kansas University Pediatric Residency, Kansas City, KS

2015              Excellence in Residency Award Nominee: Exceptional Student Mentoring
                  Kansas University School of Medicine, Kansas City, KS

2015              Resident Researcher of the Year Award
                  Kansas University Pediatric Residency, Kansas City, KS

2014              Pediatric Hematology/Oncology Intern of the Year Award
                  Kansas University Pediatric Residency, Kansas City, KS
             Case 4:21-cv-00264-RP-HCA Document 3-1 Filed 09/03/21 Page 15 of 18

Publications and Presentations (if any)

• Papers Published or In Press

Kathryn E. Kyler, Brian R Lee, Earl F Glynn, Joel P Waddell, Mark A Hoffman, and Jennifer L Goldman.
Clinical outcome and antibiotic dosing differences by weight in children with acute osteomyelitis. Hospital
Pediatrics. Accepted on 4/27/2021.

Television Interview: Channel 8 KCCI News, Des Moines, IA. COVID-19 Delta variant, upcoming school
semester in Iowa, masks, and vaccines. August 27, 2021

Television Interview: Channel 8 KCCI News, Des Moines, IA. RSV, other illnesses keep Blank Children's
Hospital full, doctor says masks should be worn this fall. July 19, 2021.

Radio Interview: Iowa Public Radio – Talk of Iowa: Vaccine Offers Children 'Return To Normalcy,' Iowa
Doctors Say. May 13, 2021.

Newspaper Interview: Des Moines Register, Des Moines, IA. COVID vaccine will soon be offered to kids ages
12-15 — but will they come in for the shots? May 11, 2021.

Radio Interview: WHO Radio, Des Moines, IA. COVID-19 vaccine among adolescents. May 6, 2021.

Newspaper Interview: Des Moines Register, Des Moines, IA. Iowa doctor: 'It's going to be extremely difficult'
to get COVID herd immunity if kids can't be vaccinated. April 28, 2021.

Newspaper Interview: Des Moines Register, Des Moines, IA. COVID-19 rate in kids may be higher than
known, experts say, and until they can be vaccinated, pandemic may linger. April 25, 2021.

Television Interview: Channel 8 KCCI News, Des Moines, IA. What is PMIS? Rare illness linked to COVID-
19 comes to Iowa. May 18, 2020.

Television Interview: Channel 13 WHO News: MIS-C among children in Iowa. May 18, 2020.

Waddell, J. and McCulloh, R. “Pertussis.” From: Ferri’s Clinical Advisor. 2018.

Invasive mucormycosis management: mucorales PCR provides important, novel diagnostic information (poster
presentation). IDWeek™2018. San Francisco, CA. October 2018.

Coauthor of hospital’s outpatient antibiotic handbook. Children’s Mercy Hospital. Kansas City, MO. August
2018.

Clinical course and antibiotic dosing in healthy vs non-healthy weight children with osteomyelitis (poster
presentation). 2018 St. Jude/PIDS Pediatric Infectious Diseases Research Conference. Memphis, TN. March
2018.

Coauthor of hospital’s outbreak/suspected outbreak investigation policy. Children’s Mercy Hospital. Kansas
City, MO. January 2018.
          Case 4:21-cv-00264-RP-HCA Document 3-1 Filed 09/03/21 Page 16 of 18

• Scientific Presentations/Invited Lectures

2021             Blank Children’s Hospital, Des Moines, IA: Pediatric Grand Rounds
                 Topic: COVID-19 vaccines in children

2021             Greater Regional Medical Center, Creston, IA: Lunch and Learn
                 Topic: COVID-19 in children

2021             State of Iowa Annual School Nursing Conference, Des Moines, IA:
                 Topic: COVID-19 in children

2021             Blank Children’s Hospital, Des Moines, IA: Pediatric Residency didactic lecture series
                 Topic: COVID-19 associated Multisystem inflammatory syndrome in children (MIS-C)

2021             Blank Children’s Hospital, Des Moines, IA: Webinar for Blank Children’s Hospital
                 Employees
                 Topic: COVID-19 pandemic and vaccines

2021             Clark County Hospital, Osceola, IA: Lunch and Learn
                 Topic: COVID-19 pandemic and vaccines

2021             Blank Children’s Hospital, Des Moines, IA: Hospital employee open forum
                 Topic: Q&A session regarding COVID-19 vaccines

2021             Blank Children’s Hospital, Des Moines, IA: Pediatric Residency board review lecture
                 series
                 Topic: Pediatric infectious diseases

2021             Blank Children’s Hospital, Des Moines, IA: Pediatric Residency didactic lecture series
                 Topic: Cervical lymphadenitis and skin/soft tissue infections

2021             Broadlawns Medical Center, Des Moines, IA: Family Medicine Residency didactic
                 lecture series
                 Topic: Top 10 outpatient pediatric infectious diseases

2020             Blank Children’s Hospital, Des Moines, IA: Pediatric Grand Rounds
                 Topic: Top 10 Vaccine Myths

2020             Blank Children’s Hospital, Des Moines, IA: Clinical Pathology Conference
                 Topic: Potts Puffy Tumor

2020             Blank Children’s Hospital, Des Moines, IA: Pediatric Residency didactic lecture series
                 Topic: Top 10 general outpatient pediatric infectious diseases

2020             Blank Children’s Hospital, Des Moines, IA: Pediatric Residency didactic lecture series
                 Topic: Infections in immunocompromised hosts

2020             Iowa Lutheran Hospital, Des Moines, IA: Family Medicine Residency didactic lecture
                 series
                 Topic: Top 10 general outpatient pediatric infectious diseases

2019             Blank Children’s Hospital, Des Moines, IA: Pediatric Residency didactic lecture series
                 Topic: Bugs and Drugs

2019             Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Fellows’
                 didactic lecture series
       Case 4:21-cv-00264-RP-HCA Document 3-1 Filed 09/03/21 Page 17 of 18

              Topic: Congenital infections

2019          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Fellows’
              didactic lecture series
              Topic: Recurrent fevers

2019          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Fellows’
              didactic lecture series
              Topic: Gastroenteritis

2018          Progressive disseminated histoplasmosis of infancy (platform presentation). Kansas
              City Infectious Diseases Society. Kansas City, KS. September 2018.

2018          Children’s Mercy Hospital, Clinical Pharmacology Mini Masters Course, Kansas City,
              MO.
              Topic: Utilizing big data resources to generate pharmacologic hypotheses

2018          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Journal
              Club
              Topic: Pharmacokinetic cefazolin modeling in bariatric surgery patients

2018          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Fellows’
              didactic lecture series
              Topic: Zoonoses

2017          Comparative analysis of initial antibiotic dosing among healthy weight, overweight, and
              obese children with osteomyelitis (poster presentation). IDWeek™2017. San Diego, CA.
              October 2017.

2017          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Fellows’
              didactic lecture series
              Topic: Viral CNS infections

2017          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Fellows’
              didactic lecture series
              Topic: Bacterial CNS infections

2017          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Journal
              Club
              Topic: Cellulitis, cephalexin, & obesity

2017          University of Missouri-Kansas City School of Pharmacy, Kansas City, MO: Second year
              pharmacy student lecture series
              Topic: Pediatric community-acquired pneumonia

2017          Children’s Mercy Hospital, General Pediatric and Medicine/Pediatric Residents, Kansas
              City, MO: Core resident educational lecture series
              Topic: Bugs and drugs

2017          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Research
              Conference
              Topic: Utilizing informatics-based research to answer questions regarding appropriate
              antibiotic dosing among obese children

2017          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Fellows’
              didactic lecture series
       Case 4:21-cv-00264-RP-HCA Document 3-1 Filed 09/03/21 Page 18 of 18

              Topic: Antibiotic resistance mechanisms – a three part series

2016          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Journal
              Club
              Topic: Fever in returning traveler

2016          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Journal
              Club
              Topic: Impact of reported beta-lactam allergy on inpatient outcomes
              multicenter prospective cohort study

2016          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO: Journal
              Club
              Topic: Antimicrobial dosing and pediatric obesity: murky waters

2016          Kansas University, Department of Pediatrics, Kansas City, KS: Senior Resident
              Conference
              Topic: Improving resident research in an attempt to further evidence-based medicine
              within pediatrics

2015          Improving pediatric immunization rates in the inpatient setting: a hospital-based
              intervention (poster presentation). Academic Pediatric Association Region VI Fall
              Meeting. Kansas City, KS. September 2015.

2015          Children’s Mercy Hospital, Infectious Diseases Department, Kansas City, MO:
              Laboratory Presentation
              Topic: Ceftolozane/tazobactam activity against Pseudomonas
              aeruginosa strains in pediatric cystic fibrosis patients

2015          Kansas University, Department of Pediatrics, Kansas City, KS:
              Neonatology Conference
              Topic: Short & long term management of neonatal HIV

2014          Kansas University, Department of Pediatrics, Kansas City, KS:
              Board Prep lecture series
              Topic: Presented various COMLEX Step 1 topics to incoming 1st year
              pediatric residents

2013          Kansas University, Department of Pediatrics, Kansas City, KS:
              Center for Child Health & Development Lecture Series
              Topic: Congenital cytomegalovirus infections-
              neurodevelopmental/behavioral outcomes

2013          Kansas University, Department of Pediatrics, Kansas City, KS:
              Neonatology Conference
              Topic: Neonatal bacterial meningitis
